     Case 3:16-cr-00262-BTM                         Document 259                Filed 03/14/17                PageID.1675              Page 1 of 4

                                                                                                                                 FILED
     "'0 24SB (CASO) (Rev. 411'4\ Judgment in 11 Criminal Case
               Sh~I
                                                                                                                                  MAR 14 ·2017

                                              UNITED STATES DISTRICT CoUR
                                                  SOUTIIERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                                        v.                                        (For Offenses Committed On or After November 1, 1987)

                JUAN MJGUEL JIMENEZ RAMIREZ [3]                                   Case Number: 16CR0262-BTM
                                                                                   VICTOR PIPPINS
                                                                                  Defc:ndimt's Attorney
     REGISTRATION NO. 52031298

     D
     THE DEFENDANT:
     18) pleaded guilty to count(s) 2, 3, AND 12 OF THE SUPERSEDING INDICTMENT
     D was found guilty on count(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a pica of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                         Nature of O.tiense                                                                           NumberCsl
8 use I324(aX2)(B)(ii)                Bringing in an Illegal Alien for Financial Gain                                                          2-3, 12




        The defendant is sentenced as provided in pages 2 through _ _4...__of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 0    The defendant bas been fowld not guilty on OOWlt(s)

 18) Count(s) Remaining Counts                              -------------------------
                                                                   D               is         arel8) dismissed on the motion of the United States.
 l8J Assessment: $300 ($100 per count) to be paid at the rate of $25 per quarter through the Inmate Financial Reiiponsibility Program.

 l8J Fine waived                                   0 Forfeiture pursuant to order filed                                       , included herein.
       IT IS ORDERED that the defendant shall nOtify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing addre~ until all fmcs, restitution, costs, and special assessments imposed by this judgment are fully paid. If orden:d to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.
                                                                              MARCH IO, 20 l 7
                                                                             Date of Imposition of Sentence



                                                                             "!.f{ff(Erfto~~
                                                                             UNITED STATES DISTRICT JUDGE


                                                                                                                                            16CR0262-BTM
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AO 245B (CASO) (Re,·. 411 4)   Judgment in a Criminal Case
             Shcc1 2 - lmprisunment
                                                                                                   Judgment - Page _ _2_     vf      4
 DEFENDANT: JUAN MIGUEL JIMENEZ RAMIREZ [3]
 CASE NUMBER: 16CR0262-BTM
                                                             IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a lcrm of
          SIXTY (60) MONTHS AS TO COUNTS 2, 3, AND 12 TO BE RUN CONCURRENTLY.



    0 Sentence imposed pursuant to Title 8 USC Section 1326(b).                                 I~
                                                                                               UNIT~sDlSTRlCTJUDGE
                                                                                                      owrrz
                                                                                               BARRY T ED
    l8J The court makes the following recommendations to the Bureau of Prisons:
          That the defendant serve his sentence at an institution in Southern California or Arizona to facili tate family vis its.




     0 The defendant is remanded to the custody of the United States Marshal.
     D T he defendant shall surrender to the United States Marshal for this district:
         0 at                              Q a.m.      0 p.m. Oil
                 as notified by the United States Marshal.

     0 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           D before      ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




           0 as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services O ffi ce.

                                                                RETURN

 I have executed thi s judgment as follows:

         Defendant delivered oil                                                     to

 at - - - - - - - - - - - - - - , with a certified copy of this judgment.



                                                                                                UN!TW STATES MARSHAL


                                                                      By ~~~-~~-~~~-~-~--~~~---
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                            16CR0262-BTM
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AO 245R (CASD) (Rev. 4114)        Judgment in a Criminal Case
              Sht..-ct 3 - Supcr,iscd Release
                                                                                                                Judgment Page ___J__ of _ _..-4_ __
DEFENDANT: nJAN MIGUEL HMENEZ RAMIREZ [3]                                                               a
CASE NUMBER: 16CR0262-BTM
                                                                SUPERVISED RELEASE
Upon release fr o m imprison m ent, the defendant shall be on superv ised release fo r a term o f:
THREE (3) YEARS AS TO COUNTS 2. 3. AND 12 CONCURRENTLY.

         The defendant s hall report to the pro bation office in the district to which the defendant is released within 72 hours of release from
the custody of the B urcau of Prisons.
The defendant shall not commit another federal. state or local crime.
For o.ffenses com milled 011 or after September 13. 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controll e d
substance . The defendant shall submit to one drug te st within 15 day s of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission o f more than 4 drug te sts per mo nth during
the term of supervision, unless otherwi se ordered by court.                                          --

D The above drug testing condition is suspended. based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)

        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
        Backlog Elimination Act of2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d).
        The defendant shall comply with tlie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901. et seq.) as directed
        by the probation offi cer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works. is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shall parti cipate in an approved program for domestic violence. (Check. if applicable .)
          If this j udgment imposes a fine or restitution obligation, it is a condition of supervis ed release that the defendant pay any such fin e
or restitution that remain s unpaid at the commencem ent of the term of supervised release in accordance with the Sc hedule of Payments set
forth in this j udgm ent.
         The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                          STANDARD CONDITIONS OF SUPERVISION

  I)     the defendant shall not leave the judicial di strict without the permi ssion of the coun or probation o fficer:
  2)     the defendant shall report to the probation o fficer in a manner and frequency directed by t he court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation o fficer and follow the instructions of the probation officer:
  4)     the defendant shall support his or her dependents and meet other family responsibilities:

  5)     the defendant shall work reg ularly at a lawful occupation. unless excused by the probation o ffi cer for schooling, training. or other
         acceptable reason s;
  6)     the defendant shall notify the pro bati o n officer at least ten days prior to any change in reside nce or employment:
  7)     the defendant s hall refrain from excessive use of alcohol and shall not purchase, possess. use , di stribute. o r administer any
         controlled substance or any paraphernalia related to any controlled substances . except as prescribed by a physician:
  8)     the defend ant sh all not frequent places where controlled substances are illegally sold. u sed, distributed. or administered;
  9)     th e defendant shall not associate with any persons engaged in criminal activity and shall not associate with any perso n con victed of
         a fe lony, unl ess granted permission to do so by the probation officer;
 I 0)    the defendant s hall p ermit a probation officer to vis it him or her at any time at home or e lsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforceme nt officer:
 12)     the defendant s hall not enter into any agreement to act as an informer or a special agent of a law enforceme nt agency without the
         permiss ion of the court; and
 13)     as directed by the probation officer, the defendant shall notify third p arties of ris ks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall p ermit the probation officer to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

                                                                                                                                        16CR0262-BTM
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       AO 245B (CASO) \Rev 4/ 141 Judgment in a C rimin~! Case
                   Sheet 4 - Special Condition>
                                                                                                         Judgment - Pai;e ___j__ uf _   __.4_ __
        DEFENDANT: JUAN MIGUEL JIMENEZ RAMfREZ [3]                                                  D
        CASE NUMBER: 16CR0262-BTM




                                             SPECIAL CONDITIONS OF SUPERVISION
    Submit person, property, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in
D a reasonabl e manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of re lease; fail ure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

0 Participate in a program of drug or alcohol abuse treatment including testing and counseling, with at least I to 8 tests per month and I to K
    counseling sessions per month as directed by the probation officer.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
l8J Not reenter the United States illegally.
D Not enter the Republic of Mexico without written permission of the Court or probation officer.
0 Report all vehicles owned or operated, or in which you have an interest. to the probation officer.
[81 Not possess any narcotic drug or controlled substance without a lawful medical prescription, under federal law.
0 Not associate with known users of, smugglers of, or dealers in narcotics. controlled substances, or dangerous drugs in any form.
0 Participate in a program of mental health treatment as directed by the probation officer. The Court authorizes the release of the pre-sentence
    report and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant sha ll
    consent to the release of evaluations and treatment information to the probation officer and the Court by the menta l hea lth prov ider.



0 Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
0 Prov ide complete disclosure of personal and business financial records to the probation officer as requested.
D Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of cred it without approval of the
    probation officer.
0 Seek and maintain fu ll time employment and/or schooling or a combination of both.
0 Resolve all outstanding warrants within        days.
0 Complete          hours of community service in a program approved by the probation officer within
0 Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
18) If deported, excluded, or allowed to voluntarily leave the United States, obey all laws federal, state and local and not reenter or attempt to
    reenter the United States illegally and report to the probation officer within 72 hou rs of any reentry to the United States; the other conditions
    of supervision are suspended while the defendant is out of the United States after deportation, exclusion, or voluntary departure.




                                                                                                                                     16CR0262-BTM
